  Case 5:23-cv-00034-H Document 12 Filed 03/02/23     Page 1 of 6 PageID 210


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS

STATE OF TEXAS,
                          Plaintiff,
      v.                                       Case No. 5:23-cv-00034-H
MERRICK GARLAND, in his official capacity as
Attorney General, et al.,
                          Defendants.



                DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                        THEIR MOTION TO STAY
   Case 5:23-cv-00034-H Document 12 Filed 03/02/23                     Page 2 of 6 PageID 211


                                         INTRODUCTION

        Defendants have filed a motion to transfer venue, which presents a threshold issue for the

Court to resolve before the case proceeds. The parties should complete briefing on that motion and

the Court should resolve the motion to avoid unnecessary expenditure of the parties’ and the Court’s

resources on further proceedings. Moreover, as the case is in its early stage, Plaintiff would not suffer

any harm from a temporary stay to allow the Court to resolve Defendants’ transfer motion.

Accordingly, and for the reasons set forth below, a temporary stay of all other outstanding deadlines,

including Defendants’ deadline to respond to the Amended Complaint and any other deadlines that

may arise, pending resolution of Defendants’ transfer motion is warranted.

                                           BACKGROUND

        On February 15, 2023, Plaintiff filed this suit in the Lubbock Division of the Northern District

of Texas. See Compl., ECF No. 1. That same day, Texas filed an Amended Complaint, alleging that

the Consolidated Appropriations Act, 2023 was unlawfully enacted because, pursuant to a House Rule,

members of the House of Representatives were able to vote by proxy. See Am. Compl. ¶¶ 58–60,

ECF No. 4.

        Plaintiff served the U.S. Attorney’s Office on Friday, February 24, 2023. On Monday,

February 27, 2023, Defendants moved to transfer venue to the U.S. District Court for the District of

Columbia or the Austin Division of the U.S. District Court of the Western District of Texas pursuant

to 28 U.S.C. § 1406, or, in the alternative, 28 U.S.C. § 1404(a). See Defs.’ Mot., ECF No. 9; Defs.’

Mem., ECF. No. 10. Defendants argued that transfer is warranted because no party resides in this

district, nor has Plaintiff claimed that any event giving rise to its claim occurred in this district. See

Defs.’ Mem. 4–13. Plaintiff’s response is due March 20, 2023, and Defendants’ reply is due April 3,

2023. See Local R. 7.1(e), (f). Aside from briefing on Defendants’ motion to transfer, the only pending




                                                    1
   Case 5:23-cv-00034-H Document 12 Filed 03/02/23                     Page 3 of 6 PageID 212


deadline is Defendants’ response to the Amended Complaint, which is currently due April 25, 2023.

See Fed. R. Civ. P. 12(a)(2).

                                            ARGUMENT

        “[T]he power to stay proceedings is incidental to the power inherent in every court to control

the disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Although not “unbounded,” the district

court has a “discretionary power to stay proceedings before it in the control of its docket and in the

interests of justice.” In re Beebe, 56 F.3d 1384 (5th Cir. 1995) (citation omitted). “The court should

consider, among other factors, (1) the potential prejudice to the non-moving party, (2) the hardship

and inequity to the moving party if the action is not stayed, and (3) judicial efficiency.” Mulvey v.

Vertafore, Inc., No. 3:21-CV-00213-E, 2021 WL 4137522, at *1 (N.D. Tex. May 7, 2021) (citing Blunt v.

Prospect Mortg., LLC, No. 3:13-CV-1595-P, 2013 WL 12129263, at *1 (N.D. Tex. Nov. 20, 2013)).

These factors weigh in favor of temporarily staying the case until the Court resolves Defendants’

pending motion to transfer venue.

        First, Defendants would be harmed by proceeding with this action. In the absence of a stay,

Defendants would likely file a motion to dismiss the Amended Complaint. A motion to dismiss and

subsequent briefing would necessarily rely on binding precedent. If the parties brief a motion to

dismiss relying on Fifth Circuit law and the Court subsequently grants Defendants’ motion to transfer

and transfers the case to the U.S. District Court for the District of Columbia, then the parties likely

would need to re-brief a motion to dismiss relying on D.C. Circuit precedent. Multiple rounds of

briefing would be inefficient and a waste of the parties’ resources. Moreover, as Plaintiff has alleged

no colorable basis for filing suit in the Northern District of Texas, resolution of the motion to transfer

venue will inform Defendants’ decision on whether to pursue a motion to dismiss for lack of venue

under Federal Rule of Civil Procedure 12(b)(3).


                                                    2
   Case 5:23-cv-00034-H Document 12 Filed 03/02/23                       Page 4 of 6 PageID 213


        Second, an interim stay will not prejudice Plaintiff in this proceeding. This case is still in the

early stages of litigation. No Rule 16 conference has occurred, no case management order has been

entered, and the only motion pending before the Court is Defendants’ motion to transfer venue.

Although Plaintiff has indicated that it will seek a preliminary injunction, see Am. Compl. at Prayer for

Relief, it has not done so. Plaintiff will not suffer any harm by a short delay in proceedings while the

Court considers whether to transfer the case. See Mulvey v. Vertafore, Inc., No. 3:21-CV-00213-E, 2021

WL 4137522, at *1 (N.D. Tex. May 7, 2021) (temporarily staying the case when the plaintiff did “not

articulate any specific harm he will suffer by a short delay, at the outset of this case, in order to resolve

the motion to transfer”).

        Finally, staying proceedings pending the consideration of a transfer motion serves the interest

of judicial economy because it would allow the Court to rule on the threshold transfer issue before

engaging in any further proceedings. As the Fifth Circuit has stated, “disposition of [a transfer] motion

should [] take[] a top priority in the handling of this case.” In re Horseshoe Entm’t, 337 F.3d 429, 433

(5th Cir. 2003); see also E. Texas Boot Co., LLC v. Nike, Inc., No. 2:16-CV-0290-JRG-RSP, 2017 WL

2859065, at *2 (E.D. Tex. Feb. 15, 2017) (“Timely motions to transfer venue should be “should [be

given] a top priority in the handling of [a case][.]” (quoting In re Horseshoe Entm’t, 337 F.3d at 433)); In

re Apple Inc., 979 F.3d 1332, 1337 (Fed. Cir. 2020) (“Although district courts have discretion as to how

to handle their dockets, once a party files a transfer motion, disposing of that motion should

unquestionably take top priority.”). It would be inefficient to engage in further proceedings while the

Court is weighing a motion that would transfer this case to another court because in the absence of a

temporary stay and if the case is ultimately transferred, “this Court will have needlessly expended its

energies familiarizing itself with the intricacies of a case that would be heard by another judge.” Rivers

v. Walt Disney Co., 980 F. Supp. 1358, 1360–61 (C.D. Cal. 1997).

        Accordingly, because all factors weigh in favor of a stay, a temporary stay of the case pending


                                                     3
   Case 5:23-cv-00034-H Document 12 Filed 03/02/23                     Page 5 of 6 PageID 214


resolution of the threshold transfer issue is warranted.

                                          CONCLUSION

        For the foregoing reasons, the Court should temporarily stay this case pending resolution of

Defendants’ Motion to Transfer Venue.


Dated: March 2, 2023                                Respectfully submitted,

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                                                   4
   Case 5:23-cv-00034-H Document 12 Filed 03/02/23                    Page 6 of 6 PageID 215


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2023, I electronically filed the foregoing paper with the Clerk

of Court using this Court’s CM/ECF system, which will notify all counsel of record of such filing.

                                                   /s/Courtney D. Enlow
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                                                  5
